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1                                                               The Honorable Thomas S. Zilly

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7                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
8                                     AT SEATTLE

9    BAO XUYEN LE, as Personal Representative
     of the Estate of TOMMY LE; HOAI “SUNNY”
10
     LE; and DIEU HO,                                     No. 2:18-CV-00055-TSZ
11
                                           Plaintiffs,
12                                                        KING COUNTY’S MOTION TO
                   vs.                                    QUASH AND FOR PROTECTIVE
13                                                        ORDER
     REVEREND DR. MARTIN LUTHER KING
14   JR. COUNTY; and KING COUNTY DEPUTY
     SHERIFF CESAR MOLINA,                                Noted for: January 15, 2021
15
                                         Defendants.
16

17
                                      I. RELIEF REQUESTED
18
            Defendant King County, on behalf of King County Council member Girmay
19
     Zahilay, moves for an order quashing his notice of deposition and protecting him from
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     being compelled to testify at a deposition in this case due to testimonial privilege.
21
                              II. FACTS RELEVANT TO MOTION
22
            This federal civil rights and state common law lawsuit arises out of an officer-
23
     involved shooting after several King County deputies responded to multiple 911 calls of
                                                                   Daniel T. Satterberg, Prosecuting Attorney
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1    armed male, later identified as Tommy Le, terrorizing residents in a Burien

2    neighborhood on June 13, 2017. The case has been through a series of iterations,
3
     including the dismissal of plaintiffs’ claims of racially-motivated selective law
4
     enforcement in violation of the Fourteenth Amendment, negligence under respondeat
5
     superior, the tort of Outrage, and Reckless or Negligent Infliction of Emotional Distress
6
     See Dkts. #38, 143, 178, 189.
7
            Following the original scheduled trial date, the King County Office of Law
8
     Enforcement (“OLEO”), at the direction of former OLEO Director Deborah Jacobs,
9
     authorized a report about the June 14, 2017 officer-involved shooting.
10
            This report was one matter on the agenda of the King County Council Law and
11

12   Justice Committee on September 2, 2020. The committee consists of seven King County

13   Council members, with council member Zahilay servinging as the chair of the

14   committee. The remarks of Councilman Zahilay (and those of the other council

15   members) at the September 2, 2020 meeting were recorded and videotaped. Declaration

16   of Daniel L. Kinerk, Exhibit 1, King County Council transcript of 9/2/20 hearing.
17          On October 15, 2020, plaintiffs’ counsel sought permission to re-open discovery
18
     to conduct additional depositions, including that of Council member Zahilay. Kinerk
19
     Dec., Ex. 2, Status Conference transcript,10/15/2020. King County objected, indicating that
20
     Council member Zahilay did not speak on behalf of the other King County council
21
     members or on behalf of King County in his remarks at the committee hearing. Id. at
22
     23:14-25, 24:1-20. King County further objected to deposing Council member Zahilay as
23
     his testimony was collateral to the issues in the case and introduced the risk that the
                                                                      Daniel T. Satterberg, Prosecuting Attorney
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1    County would need to call other council members to refute Mr. Zahilay’s comments. Id.

2    The Court stated:
3                  …you will have the opportunity to take Zahilay’s deposition
                   on what he said and try and determine or sort out whether
4
                   anything he said would be in any way binding on the
5                  county. But this is discovery. This is not admissibility. And
                   from what I’ve heard today, it seems highly unlikely that his
6                  comments would in any way bind the county, or even be
                   admissible, if it’s one council person’s views of what a report
7                  says.
                   The jury is going to decide whether this was, as I say,
8                  excessive force, whether something was improper. And
                   we’re not going to have all of the council members coming
9                  in to tell us their views.
10
     Kinerk Dec. Ex. 2, 26:6-18.
11
            On October 19, 2020, the Court issued a Minute Entry following the October 15,
12
     2020 status conference holding that “plaintiffs may also depose King County Council
13
     member Girmay Zahilay regarding the comments he made about or after issuance of
14
     the OLEO report.” See Dkt. #246. The Court also noted that “I can’t conceive that this
15
     OLEO report would ever be admitted in evidence.” Kinerk Dec., Ex. 2, 25:24-25. Council
16
     member Zahilay’s deposition has now been noted for January 21, 2021.
17
            The Court’s approval of Council member Zahilay’s deposition was made without
18

19   the opportunity for the Court to be fully briefed on the legislative privilege against suit

20   and testifying in this matter. This motion follows.

21                                 III. EVIDENCE RELIED UPON

22             1. The declaration of King County Council member Girmay Zahilay;

23             2. The declaration of Daniel L. Kinerk, with exhibits;

                                                                    Daniel T. Satterberg, Prosecuting Attorney
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1              3. The pleadings on file with the Court.

2                                   IV. STATEMENT OF ISSUE

3           Whether the Court should recognize the testimonial privilege afforded a King
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     County Council member operating in his legislative capacity and quash his notice of
5
     deposition in this matter? Yes.
6
                                           V. ARGUMENT
7
     A. Local Legislators are immune and cannot be compelled to testify as to legislative
8    actions.

9           Local legislators are absolutely immune from civil liability for their legislative

10   acts. See Thornton v. City of St. Helens, 425 F.3d 1158, 1163 (9th Cir.2005). The
11
     legislative immunity doctrine also creates an evidentiary and testimonial privilege.
12
     Suhre v. Board of Comm'rs, 894 F.Supp. 927, 932 (W.D.N.C.1995), reversed on other grounds.
13
     Where a legislator is immune from suit for a legislative act, he cannot be called to testify
14
     regarding those same actions. See Marylanders for Fair Representation, Inc. v. Schaefer, 144
15
     F.R.D. 292, 298 (D.Md.1992).
16
            Testimonial privilege protects speech and other activities undertaken by
17
     members of Congress who are acting within a legitimate sphere. Laurel Park Community,
18

19   LLC v. Tumwater, 2010 WL 1474073 citing Eastland v. United States Servicemen’s Fund, 421

20   U.S. 491, 502-503, 95 (1975). “Committee reports, resolutions, and the act of voting are

21   equally covered ….”). Id. quoting United States v. Gravel, 408 U.S. 606, 617, 92 S.Ct. 2614,

22   33 L.Ed.2d 583 (1972).

23


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1            King County Council member Zahilay’s remarks regarding the OLEO report

2    were made during a committee meeting. Declaration of Girmay Zahilay. The testimonial
3
     privilege precludes deposing a legislator about words spoken in that capacity. The
4
     testimonial privilege also extends into inquiry into the motivation or purposes of the
5
     legislative act. Id. citing U.S. v. Brewster, 408 U.S. 501, 502, 525, 92 S.Ct. 2531, 33 L.Ed.2d
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     507 (1972). In Laurel, plaintiffs sought to depose City Council members regarding two
7
     new local ordinances that were adopted by the City Council. The court ruled :
8
                   … a legislator shall not be questioned in any place (to include
9                  a deposition) where the inquiry reaches the legislative acts or
                   motivations for such acts.
10
            Id. at *3. (emphasis added)
11

12          In granting defendant’s motion to quash and for protective order, the court

13   found that plaintiff’s request to depose the council members fell “within the scope of

14   activities considered to be within the legislative sphere.”

15          The situation here is no different. The comments County Council member

16   Zahilay made about the OLEO report were made during a Law and Justice County
17
     Council meeting and can only be construed as an activity within the legislative sphere.
18
     They are privileged and protect him from be subjected to a deposition. This makes
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     complete sense because if every legislator is subject to a deposition for his legislative
20
     activities, his “time, energy and attention” is diverted from his legislative tasks and his
21
     legislative independence adversely affected.
22
            The privilege precludes deposing city council members absent extraordinary
23


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1    circumstances, like personal benefit to the legislator, which is not applicable here.

2    Tenney v. Brandhove, 341 U.S. 367, 71 S.Ct. 783, (1951).
3
              The Ninth Circuit has applied these principles to preclude testimony by
4
     individual City Council members concerning their adoption of zoning ordinances. City
5
     of Las Vegas v. Foley, 747 F.2d 1294 (9th Cir. 1984). The underlying policy goal of this
6
     immunity is to protect legislators from interference with their legislative duties. See
7
     Dombrowski v. Eastland, 387 U.S. 82, 84-85, 87 S.Ct. 1425, 18 L.Ed.2d 577 (1967).
8
              Requiring testimony about communications that reflect objective facts related to
9
     legislation subject legislators to the same burden and inconvenience as requiring them
10

11   to testify about subjective motivations, which is clearly forbidden by the cases cited

12   above.

13            In this case, Council member Zahilay’s remarks that plaintiffs seek to discover

14   occurred during a council hearing. Zahilay Dec. This is exactly the type of legislative

15   action for which that he enjoys complete immunity and equally important, is afforded

16   testimonial privilege.
17
                                          VI. CONCLUSION
18
              The Court should grant the motion to quash and for a protective order
19
     preventing the deposition of King County Council member Girmay Zahilay due to
20
     testimonial privilege for his legislative acts.
21

22

23


                                                                     Daniel T. Satterberg, Prosecuting Attorney
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1        DATED this 7th day of January, 2021 at Seattle, Washington.

2

3                                          DANIEL T. SATTERBERG
                                           King County Prosecuting Attorney
4

5                                          s/Daniel L. Kinerk
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                                                              Daniel T. Satterberg, Prosecuting Attorney
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1                         CERTIFICATE OF MAILING AND SERVICE

2           I hereby certify that on January 7, 2021, I electronically filed the foregoing

3    document(s) with the Clerk of the Court using the CM/ECF System which will send
4
     notification of such filing to the following participants:
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14                                          253-627-0684
                                    tim@gosselinlawoffice.com
15

16          I declare under penalty of perjury under the laws of the United States and the
17
     State of Washington that the foregoing is true and correct.
18
            DATED this 7th day of January, 2021 at Seattle, Washington.
19

20

21                                              ______________________________
                                                Rafael A. Munoz-Cintron
22                                              Legal Assistant
                                                King County Prosecuting Attorney's Office
23


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